                                         UNITED STATES DISTRICT COURT
                                      WESTERN DISTRICT OF NORTH CAROLINA
                                             CHARLOTTE DIVISION
                                        DOCKET NO. 3:14-cr-00229-MOC-DCK

                UNITED STATES OF AMERICA,                    )
                                                             )
                                                             )
                                                             )
                Vs.                                          )                       ORDER
                                                             )
                AHKEEM TAHJA MCDONALD,                       )
                                                             )
                               Defendant(s).                 )



                       THIS MATTER is before the court on defendant’s Motion to Adopt Pretrial Motions Filed

              by Codefendants. In particular, defendant requests permission to join in the motion of Defendant

              Hartley (#269) seeking what the court will call “USAM discovery” and his Objections to the

              magistrate judge’s Order denying that motion. While the motion will be allowed, counsel is

              advised that a motion filed at 5:30 p.m. on a Friday before a Monday morning hearing is not a

              timely motion. Having considered defendant’s motion and reviewed the pleadings, the court enters

              the following Order.



                                                        ORDER

                       IT IS, THEREFORE, ORDERED that defendant’s Motion to Adopt Pretrial Motions

              Filed by Codefendants (#439) is GRANTED, defendant is allowed to join in the motion and the

              Objections, and counsel is allowed to participate in oral arguments.

Signed: February 22, 2016




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